        Case 2:15-cv-00997-JHE Document 149 Filed 10/28/18 Page 1 of 5                      FILED
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                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


        IN THE UNITED STATES DISTRICT COURT FOR THE
     NORTHERN DISTRICT OF ALABAMA, BIRMINGHAM DIVISION

JAMES BARBER,                                  )
                                               )
                    Plaintiff,                 )
                                               )
                    v.                         )      Case No.: 2:15-cv-00997-JHE
                                               )
HUGH HOOD, et al.,                             )      Hon. John H. England, III
                                               )
                    Defendants.                )

      PLAINTIFF’S MOTION TO EXCLUDE PROPOSED EXHIBITS OF
      CURRICULUM VITAE OF DEFENDANTS RODDAM AND HOOD

      The Court should exclude Defendants’ Proposed Exhibit 8, Curriculum Vitae

of Hugh M. Hood, D.D.S., M.D., F.A.C.P., and Defendants’ Proposed Exhibit 9,

Curriculum Vitae of Roy F. Roddam, M.D., as both documents are inadmissible

hearsay (attached hereto as Exhibits A and B). Defendant Roddam and Defendant

Hood can of course testify to the relevant experiences and qualifications listed on

their resumes from personal knowledge. To the extent that Defendants cannot

recall any items listed on their resume that are relevant to the instant action, they

may of course use their resumes to refresh their recollections, as permitted by Rule

612 of the Federal Rules of Evidence. See Fed. R. Evid. 612; Rush v. Illinois Cent.

R. Co., 399 F.3d 705, 716 (6th Cir. 2005) (“Rule 612 of the Federal Rules of Evidence

authorizes a party to refresh a witness’s memory with a writing so long as the

‘adverse party is entitled to have the writing produced at the hearing, to inspect it,

to cross-examine the witness thereon, and to introduce in evidence those portions
        Case 2:15-cv-00997-JHE Document 149 Filed 10/28/18 Page 2 of 5



which relate to the testimony of the witness.’” (quoting Fed. R. Evid. 612)). But the

documents themselves are hearsay and should not be admitted.

                                      ANALYSIS

      Hearsay is a statement, other than one made by the declarant while

testifying at the trial, offered in evidence to prove the truth of the matter asserted.

Fed. R. Evid. 801(c). Hearsay is inadmissible unless an enumerated exception to

the rule applies. Numerous courts have recognized the obvious fact that curricula

vitae are hearsay. For example, in Hosse v. Sumner County Bd. of Educ., 2018 WL

1382539, *3 (M.D. Tenn. Mar. 19, 2018), the court sustained a pretrial objection to

the admission of plaintiff’s resume, observing that “courts have regularly excluded

resumes or curriculum vitae as inadmissible hearsay” (citing Sheffield v. State

Farm Fire & Cas. Co., No. 5:14 C 38, 2016 WL 3548550, at *8 (S.D. Ga. June 23,

2016); Mahnke v. Wash. Metro. Area Transit Auth., 821 F. Supp. 2d 125, 154 (D.D.C.

2011); Sutfin v. City of Bono, Ark., No. 3:07 C 124, 2009 WL 1955438, at *1 (E.D.

Ark. July 6, 2009); Alexie v. United States, No. 3:05 C 2997, 2009 WL 160354, at *1

(D. Alaska Jan. 21, 2009); c.f. McBride v. Kmart Corp., No. 14 C 41, 2015 WL

13545913, at *3 (D. Wyo. Jan. 14, 2015).

      To the extent that Defendants would attempt to justify the admission of their

resumes using the recorded recollection exception, see Fed. R. Evid. 803(5), such an

effort would fail. Rule 803(5) provides an exception to the rule against hearsay for a

record that “(A) is on a matter the witness once knew about but cannot recall well

enough to testify fully and accurately; (B) was made or adopted by the witness when



                                           2
        Case 2:15-cv-00997-JHE Document 149 Filed 10/28/18 Page 3 of 5



the matter was fresh in the witness’s memory, and (C) accurately reflects the

witness’s knowledge.” Fed. R. Evid. 803(5). In this case, both Defendants resumes

span decades, and therefore, on its face, this exception would not apply, as

Defendants could not show that the entire document was created when the matters

captured were fresh in their memories. Even if admitted under Rule 803(5), the

record may only be read into evidence and not received into evidence unless offered

by an adverse party. Id.

      Moreover, Plaintiff notes that Defendants have moved to exclude the

curriculum vitae of Plaintiff’s expert, Robert Cusick. And to the extent that

Cusick’s curriculum vitae is excluded, the curricula vitae of Defendants Hood and

Roddam also ought to be excluded.

                                  CONCLUSION

      For the foregoing reasons, the curricula vitae of Defendants should be

excluded from evidence as inadmissible hearsay.




                                                     /s/ Bethany Rupert
                                                     Bethany Rupert
                                                     Attorney for Plaintiff




                                          3
       Case 2:15-cv-00997-JHE Document 149 Filed 10/28/18 Page 4 of 5



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                                     4
        Case 2:15-cv-00997-JHE Document 149 Filed 10/28/18 Page 5 of 5



                          CERTIFICATE OF SERVICE

       I, Bethany Rupert, an attorney, certify that on October 28, 2018, I caused the
foregoing Plaintiff’s Motion to be filed using the Court’s CM/ECF system, which
effected service on all counsel of record.



                                                    /s/ Bethany Rupert
                                                    Bethany Rupert
                                                    Attorney for Plaintiff




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